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                                                     UNITED STATES DISTRICT COURT
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                                                           DISTRICT OF NEVADA
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                                                                        2:08-CR-332 JCM (GWF)
                  7     UNITED STATES OF AMERICA,

                  8                     Plaintiff,
                  9     v.
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                        DWIGHT RAMON POLLARD,
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                                        Defendant.
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                13                                                   ORDER
                14            Presently before the court is pro se petitioner Jeffrey C. Bigsby’s motion for clarification.
                15    (Doc. # 518). Petitioner seeks clarification of the payment schedule as set forth in the amended
                16    judgment entered against him on July 11, 2011. (Doc. # 390). Although his motion is titled
                17    “letter/motion for clarification,” it appears petitioner is actually requesting that the court order his
                18    case manager to cease making restitution withdrawals from petitioner’s account. The court, of
                19    course, declines to grant this request.
                20            To the extent petitioner’s motion actually seeks clarification of the payment schedule, the
                21    court emphasizes the following language contained within the amended judgment, which petitioner
                22    has apparently overlooked: “[u]nless the court has expressly ordered otherwise, if this judgment
                23    imposes imprisonment, payment of criminal monetary penalties is due during imprisonment.” (Doc.
                24    # 390, p. 6). The court finds that this language is clear; therefore, there is nothing to clarify.
                25    ...
                26    ...
                27    ...
                28
James C. Mahan
U.S. District Judge
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                  1   Accordingly,
                  2          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that petitioner’s motion for
                  3   clarification (doc. # 518) be, and the same hereby is, DENIED.
                  4          DATED September 12, 2013.
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                                                           UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                 -2-
